          Case 1:13-cv-00454-LM Document 1-4 Filed 10/11/13 Page 1 of 2




                                 STATE OF NEW HAMPSHIRE

HILLSBOROUGH, SS.                                                            SUPERIOR COURT

                                       216-2009-cv-00522

             SEFF ENTERPRISES & HOLDINGS, LLC and LAURIE FOISTNER

                                                 v.

                                    BUTLER BANK, ET AL




            NOTICE OF FILING OF NOTICE OF REMOVAL TO STATE COURT



TO:    John M. Safford, Clerk of Court
       Hillsborough County Superior Court
       300 Chestnut Street
       Manchester, NH 03101

       Take notice that pursuant to 28 U.S.C. § 1446, Defendant, Federal Deposit Insurance

Corporation in its capacity as Receiver for Butler Bank, has this day filed in the Clerk’s Office of

the United States District Court for the District of New Hampshire, Concord, New Hampshire, a

Notice of Removal of this case, as shown by copy attached, and in accordance with the above

statute, the State Court proceedings should proceed no further unless and until the case is

remanded.
           Case 1:13-cv-00454-LM Document 1-4 Filed 10/11/13 Page 2 of 2




Dated: October 11, 2013                               Respectfully submitted,


                                                      By its attorneys,

                                                      /s/ Robert A. McCall
                                                      Robert A. McCall
                                                      NH Bar No. 14221
                                                      Peabody & Arnold LLP
                                                      Federal Reserve Plaza
                                                      600 Atlantic Avenue
                                                      Boston, MA 02210-2261
                                                      617-951-2100
                                                      rmccall@peabodyarnold.com


                                 CERTIFICATE OF SERVICE

        I, Robert A. McCall, hereby certify that on October 11, 2013 the within Notice of Filing

Notice of Removal was served on the following parties, by causing a copy thereof to be sent via

first-class mail to:

Joseph A. Foistner, Esq.                            William Aivalikles, Esq.
3 Galloway Road, #27                                60 Main Street, Suite 230
Merrimack, NH 03054                                 Nashua, NH 03060

James F. Laboe, Esq.                                Robert Chapman
Orr and Reno, P.A.                                  19505 Quesada Avenue, ii204
P.O. Box 3550                                       Port Charlotte, FL 33948
Concord, NH 03302-3550

and to the Hillsborough County Superior Court, John M. Safford, Clerk, via first class mail on
October 11, 2013.

                                                      /s/ Robert A. McCall




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15669-94708




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